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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


SVETLANA LOKHOVA                           )
                                           )
        Plaintiff,                         )
                                           )
v.                                         )              Civil Action No. 1:19-cv-632
                                           )
                                           )              TRIAL BY JURY
STEFAN A. HALPER,                          )              IS DEMANDED
DOW JONES & COMPANY, INC.                  )
     [WALL STREET JOURNAL],                )
THE NEW YORK TIMES COMPANY,                )
WP COMPANY, LLC                            )
     [WASHINGTON POST]                     )
                                           )
-and-                                      )
                                           )
NBCUNIVERSAL MEDIA, LLC                    )
    [MSNBC],                               )
                                           )
        Defendants.                        )
                                           )



                               COMPLAINT
        Plaintiff, Svetlana Lokhova, by counsel, files the following Complaint against

defendants, Stefan A. Halper (“Halper”), Dow Jones & Company, Inc. (“Dow Jones”),

The New York Times Company (the “Times”), WP Company, LLC d/b/a The

Washington Post (the “Post”), and NBCUniversal Media, LLC d/b/a MSNBC

(“NBCUniversal”), jointly and severally.

        Plaintiff seeks (a) compensatory damages and punitive damages in the sum of

$25,350,000.00, (b) prejudgment interest on the principal sum awarded by the Jury

from February 19, 2017 to the date of Judgment at the rate of six percent (6%) per year



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pursuant to § 8.01-382 of the Virginia Code (1950), as amended (the “Code”), and (c)

court costs – arising out of the Defendants’ defamation, common law conspiracy, and

tortious interference with contract and reasonable business expectancies.

                                 I. INTRODUCTION

       1.      Stefan Halper is a ratfucker 1 and a spy, who embroiled an innocent
                                                                               1:19-cv-632
woman in a conspiracy to undo the 2016 Presidential election and topple the President of

the United States of America.

       2.      Between January 2016 and May 2018, Halper colluded with rogue agents

of the Federal Bureau of Investigation (“FBI”), with political operatives at Cambridge

University, and with “journalists” employed by the Wall Street Journal, the Guardian, the

New York Times, the Washington Post and other mainstream media outlets, to promote a

narrative and publish statements about Plaintiff, about United States Army General

Michael Flynn (“General Flynn”), and about others – statements that Halper and his

confederates knew to be false.

       3.      Halper drew Plaintiff into a web of lies. As part of the sophisticated

counterintelligence operation, Halper manufactured and published numerous false and

defamatory statements. Halper misrepresented that Plaintiff was a “Russian spy” and a

traitor to her country and that Plaintiff had an affair with General Flynn on the orders of

Russian intelligence.    Halper tortiously interfered with and undermined Plaintiff’s

professional career and business by asserting that Plaintiff was not a real academic and

that her research was provided by Russian intelligence on the orders of Vladimir Putin.



       1
                “Ratfucking” is a well-known political term, originated by one-time
Richard Nixon campaign strategist Donald Segretti. It is a colorful and foul simile for
“pulling a dirty trick.” [http://daveweigel.com/2010/06/on-ratfucking/].


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       4.      Halper and his confederates spread lies about Plaintiff and General Flynn

in article after article published and republished and republished by third-parties over and

over again between December 2016 and May 2019. The FBI knowingly used Halper’s

lies and the lies of others as the foundation and basis upon which to begin a “special

investigation” into “collusion” between the Trump campaign and the Russian
                                                                               1:19-cv-632
government.

       5.      Defendants’ combined character assassination devastated Plaintiff, injured

her business as an academic and author, and propelled her to the epicenter of a massive

fraudulent hoax about “Russian collusion”. Plaintiff lost (a) the right and expectation of

academic advancement or fellowship at Cambridge University; (b) the possibility of

obtaining employment as a professor anywhere else in the World; (c) the opportunity to

gain a PhD, despite working for seven (7) years toward her goal; and (d) valuable book

contracts with Basic and Penguin Books, Norton and Harper Collins (second book),

including advances, foreign rights, movie rights and royalties.          Plaintiff suffered

irreparable damage to her writing career. She was forced to flee her country after the

birth of her child and to live abroad without a permanent address in order to avoid public

scrutiny, invasion of her privacy, and constant public ridicule. Plaintiff’s health has

deteriorated. She dreads receiving email. She lives in constant fear and with a deep

sense of betrayal and dismay. Plaintiff experiences a recurring nightmare about being

separated from her baby as a result of arrest on a false charge manufactured by Halper

and his handlers. Plaintiff has contemplated suicide to end the suffering caused by the

enormous weight and stress of being collateral damage in Halper’s international

conspiracy and scandal.




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       6.        On March 22, 2019, Special Counsel Robert Mueller submitted his

confidential report entitled “Report on the Investigation into Russian Interference in the

2016 Presidential Election” (the “Mueller Report”). The Special Counsel and his staff of

19 lawyers, assisted by a team of approximately 40 FBI agents, intelligence analysts,

forensic accountants, and other professional staff, issued more than 2,800 subpoenas,
                                                                               1:19-cv-632
executed nearly 500 search warrants, obtained more than 230 orders for communication

records, issued almost 50 orders authorizing use of pen registers, made 13 requests to

foreign governments for evidence, and interviewed approximately 500 witnesses.

       7.        As part of the Special Counsel investigation, Mueller and his team

interviewed General Flynn approximately nineteen times.

       8.        Mueller and his team never interviewed Plaintiff once and never

subpoenaed a single record from her.

       9.        After a thorough investigation, the Special Counsel found no evidence

that Plaintiff was a Russian spy; no evidence that General Flynn had an affair with

Plaintiff; no evidence that General Flynn was ever compromised in any way as a result of

any interaction he ever had with Plaintiff; and no evidence that any member of the

presidential campaign of Donald Trump, and/or others associated with it, ever conspired

with the Russian government in its efforts to interfere in the 2016 U.S. Presidential

election. The Mueller Report conclusively vindicates Plaintiff and General Flynn,

and proves Halper and his associates were intentionally lying about virtually every

material fact.

       10.       In this case, Plaintiff seeks money damages for the anguish, insult, pain,

embarrassment, humiliation, mental suffering, destruction of her good name and




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reputation, and financial loss caused by the Defendants’ defamation, conspiracy, tortious

and intentional misconduct.    Defendants’ participation in corrupt counterintelligence

operations and their indiscriminate and persistent use of the Internet and social media to

defame must be stopped. Defendants committed criminal and deliberately wrongful acts.

They engaged in conduct involving dishonesty, fraud, deceit and misrepresentation. The
                                                                              1:19-cv-632
conduct of Defendants and their confederates cannot be tolerated and the mainstream

media cannot continue to serve as a weapon of those bent on the destruction of American

democracy. The Defendants should be punished for their unlawful actions and a very

strong message needs to be sent to prevent others from acting in a similar way.

                                     II. PARTIES

       11.     Plaintiff, Svetlana Lokhova (“Lokhova”), is a citizen of the United

Kingdom (UK). She was born in Moscow on June 4, 1980. Lokhova matriculated to

Cambridge University in 1998, where she studied history.         She hold a Master’s in

Philosophy (MPhil) and a B.A (Honors) in History.          Her groundbreaking Master's

dissertation remains the definitive account of the founder of the Soviet intelligence

service, Felix Dzerzhinsky. [https://www.svetlanalokhova.com/biography]. She became

a citizen of the UK in 2002. She is a mother, historian, academic and author. Lokhova is

a private individual.   Until she was egregiously defamed by Halper and his co-

conspirators in 2016, 2017 and 2018, Lokhova enjoyed an untarnished reputation in the

community in which she lived and worked.




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       12.     Defendant, Halper, is a citizen of Virginia.      He lives in Great Falls,

Virginia. Halper is (or was) an informant for the FBI. 2 He graduated from Stanford in

1967, and received a Ph.D. from Oxford in 1971 and Cambridge in 2004. He was the

director of American studies in the Department of Politics and International Studies at

Cambridge, where he taught classes and also delivered papers at institutions around the
                                                                               1:19-cv-632
World, including Chatham House in London, the Center for Strategic and International

Studies in Washington, D.C., and the U.S. Naval War College. While at Cambridge,

Halper worked for years alongside Sir Richard Dearlove (“Dearlove”). Dearlove spent

decades with British Secret Intelligence Service (SIS), known as MI6, and was its

Director from 1999 to 2004. 3 [http://www.csap.cam.ac.uk/network/richard-dearlove/].

Halper organized and hosted a series of Cambridge Intelligence Seminars that were

attended by intelligence community members, academics, and researchers from around

the World. One such seminar in 2014, put together by both Halper and Dearlove, was



       2
                While the FBI merely describes Halper as an “informant”, in truth Halper
is actually a counterintelligence operative. In 2016, Halper actively courted at least three
Trump campaign officials, offering to pay for travel and misrepresenting himself as eager
to work for Donald Trump. During the 2016 presidential campaign, Halper was a “secret
source” for the FBI. Halper was asked by the FBI to gather information on Carter Page
(“Page”), George Papadopoulos (“Papadopoulos”), and Trump campaign co-chairman
Sam Clovis (“Clovis”). [https://dailycaller.com/2018/03/25/george-papadopoulos-
london-emails/;     https://www.washingtonpost.com/politics/secret-fbi-source-for-russia-
investigation-met-with-three-trump-advisers-during-campaign/2018/05/18/9778d9f0-
5aea-11e8-b656-a5f8c2a9295d_story.html?utm_term=.df8cb79900da]. Halper has been
engaged in espionage for decades. In 1980, he oversaw a covert operation in which CIA
operatives passed classified information about President Carter’s foreign policy to
Reagan campaign officials. [https://theintercept.com/2018/05/19/the-fbi-informant-who-
monitored-the-trump-campaign-stefan-halper-oversaw-a-cia-spying-operation-in-the-
1980-presidential-election/].

       3
               Dearlove is a career intelligence officer of thirty-eight years standing. He
has served in Nairobi, Prague, Paris, Geneva and Washington, as well as in a number of
key London-based posts. [https://thecsi.org.uk/sample-page/].


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attended by then-President Barack Obama’s Defense Intelligence Agency Director,

General Flynn. Between 2012 and 2018, Halper received a total of $1,058,161.00 USD

from the Department of Defense (DoD). Halper’s contract was funded through annual

awards      paid       out    of     the     Pentagon’s       Office    of    Net   Assessment     (ONA”).

[https://www.zerohedge.com/news/2018-05-21/fbi-informant-stefan-halper-paid-over-1-
                                                                                              1:19-cv-632
million-obama-admin-spied-trump-aide-after]. Over half of the sum paid to Halper was

for his counterintelligence efforts surrounding the 2016 Presidential election.

[https://www.zerohedge.com/news/2019-02-20/fbi-official-admits-infiltrating-trump-

campaign-just-dont-call-it-spying;

https://www.usaspending.gov/#/search/68d183f62648f90913efbf55858f3893].

          13.         Halper and his handlers hatched the conspiracy to defame Plaintiff and

smear General Flynn in Virginia.                    Halper carried out the plot from Virginia.         He

originally published the defamatory statements at issue in this case to his co-conspirators

in the media from his computer in Virginia or using his phone in Virginia.

          14.         Defendant, Dow Jones, is a Delaware corporation with headquarters and a

principal place of business in New York. One of the products published by Dow Jones is

the Wall Street Journal (“WSJ” or the “Journal”). Dow Jones publishes the Journal both

in print and online. [See, e.g., www.wsj.com]. On its website, Dow Jones claims that

“[t]he most ambitious people in the world read The Wall Street Journal … Journal

readers         are     the        leaders     of     today       and        tomorrow’s   rising    stars.”

[https://www.dowjones.com/products/wsj/]. The Journal’s global digital offerings have

grown to include 12 sites in six languages, edited locally for a regionally relevant focus.

The Journal has a massive social media presence, with 16.6 Million followers on Twitter




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[https://twitter.com/WSJ?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5Eau

thor] and over 6,328,547 followers on Facebook. [https://www.facebook.com/wsj/].

       15.     Defendant, Times (NYSE:NYT), is a New York corporation.               Its

headquarters and principal place of business is in New York. The Times is a nationwide

company that publishes The New York Times newspaper and www.nytimes.com. The
                                                                            1:19-cv-632
putative “mission” of the Times is to “seek the truth and help people understand the

world”. The Times’ content reaches a broad audience through both digital and print

platforms. As of December 30, 2018, the Times had approximately 4.3 million paid

subscriptions across 217 countries and territories to its digital and print products.

[https://s1.q4cdn.com/156149269/files/doc_financials/annual/2018/updated/2018-

Annual-Report-(1).pdf]. In addition to its digital and print products, the Times targets

viewers in Virginia and elsewhere via social media. The Times has over 43.4MM

followers     on    Twitter     and     16,500,000+      followers    on     Facebook.

[https://twitter.com/nytimes?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5

Eauthor]; https://www.facebook.com/nytimes/].

       16.     Defendant, Post, is a limited liability company organized and existing

under the laws of the State of Delaware with its principal place of business in

Washington, D.C. None of the Post’s members is a citizen of the United Kingdom. The

Post has one of the largest print circulations and number of online subscribers in the

country.     The Post has 13.7 Million followers on Twitter (@washingtonpost).

[https://twitter.com/washingtonpost?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ct

wgr%5Eauthor].       Over 6,280,000 people follow the Post using Facebook.

[https://www.facebook.com/washingtonpost/].




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       17.    Defendant, NBCUniversal, is a limited liability company organized and

existing under the laws of the State of Delaware with its principal place of business in

New York. None of NBCUniversal’s members is a citizen of the United Kingdom.

NBCUniversal owns and operates “MSNBC”.              Reaching more than 96 million

households worldwide, MSNBC offers a full schedule of live news coverage, progressive
                                                                            1:19-cv-632
voices, award-winning documentary programming – 24 hours a day, 7 days a week.

MSNBC also delivers breaking news and information across a variety of platforms,

including www.msnbc.com. [http://www.nbcuniversal.com/business/msnbc].         MSNBC

promotes its business and extreme left-wing causes via Twitter and Facebook.

[https://twitter.com/MSNBC?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%

5Eauthor; https://www.facebook.com/msnbc/]. MSNBC has 2.44 Million followers on

Twitter. Over 2,264,000 people follow MSNBC on Facebook.

       18.    At all times relevant to this action, Halper colluded with operatives at

Cambridge University, and agents employed by Dow Jones, the Guardian, the Times and

the Post to leak false statements about Plaintiff as part of a nefarious effort to smear

General Flynn and fuel and further the now debunked and dead narrative that the Trump

campaign colluded with Russia. Halper, with the full knowledge and acquiescence of the

media Defendants, used the Wall Street Journal, the Guardian, the Times, the Post and

MSNBC – and their massive public followings – as a bullhorn and an echo chamber to

amplify and republish the defamation to an unprecedented and unimaginable degree.

       19.    The Journal, Guardian, Times, Post and MSNBC knew that Halper was a

spy and that Halper had an agenda to infiltrate and discredit the Trump campaign. These

media Defendants knew that Halper was lying about Lokhova and General Flynn. They




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never questioned their verifiably unreliable source and did no fact-checking. As a result

of the collusive arrangement between Halper and his media stooges, Plaintiff suffered

incredible ignominy.

                           III. JURIDICTION AND VENUE

       20.     The United States District Court for the Eastern District of Virginia has
                                                                               1:19-cv-632
subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332. The parties are

citizens of different States and the amount in controversy exceeds the sum or value of

$75,000, exclusive of interest, costs and fees.

       21.     Each of the Defendants is subject to personal jurisdiction in Virginia

pursuant to Virginia’s long-arm statute, § 8.01-328.1(A)(1), (A)(3) and (A)(4) of the

Code, as well as the Due Process Clause of the United States Constitution. Halper lives

in Virginia. He orchestrated the conspiracy from Virginia. The media Defendants are at

home in Virginia. They sell millions of newspapers and have millions of subscribers and

followers in Virginia. They engage in continuous and systematic business in Virginia.

They colluded with a Virginia citizen to defame and injure Plaintiff.         Each of the

Defendants has minimum contacts with Virginia such that the exercise of personal

jurisdiction over them comports with traditional notions of fair play and substantial

justice and is consistent with the Due Process Clause of the United States Constitution.

       22.     Venue is proper in the Alexandria Division of the United States District

Court for the Eastern District of Virginia. A substantial part of the events giving rise to

the claims stated in this action occurred in the Alexandria Division of the Eastern District

of Virginia.




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                           IV. STATEMENT OF THE FACTS

        23.    Lokhova is not and never has been a Russian spy or an agent of Russian

intelligence or any branch or agency of the Russian government. She is Russian by birth.

That’s it.

        24.    Lokhova never had an affair with General Flynn. Indeed, she has never
                                                                             1:19-cv-632
been alone with General Flynn, ever.

        25.    The lies told by the Defendants about Lokhova (described below) were

invented by the Defendants out of whole cloth for the purpose of promoting a

preconceived storyline about “collusion” between the Trump campaign and Russia.

Halper and the media Defendants, being both experienced and adept at propaganda and

having the tools at their disposal to carry out an effective propaganda campaign, knew

that the sensational and scandalous accusations of “Russian collusion” would ignite a

wildfire of controversy.

        26.    It was the goal of Halper and the media Defendants that the wildfire would

engulf General Flynn and other members of the Trump campaign, and, after the 2016

election, that it would create another Watergate.

        27.    In 1999, as part of her university studies at Cambridge, Lokhova met

Professor Christopher M. Andrew (“Andrew”). Andrew became Lokhova’s long-term,

academic mentor and co-author.         Andrew was the official historian to “MI5”, the

counterintelligence organization in the UK. [https://www.mi5.gov.uk/who-we-are;

https://www.hist.cam.ac.uk/directory/cma1001@cam.ac.uk;

http://www.csap.cam.ac.uk/network/christopher-andrew/].      At Andrew’s suggestion,

Lokhova studied for a Master’s Degree in 2001-2002. She was instructed to travel to




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Moscow, where she obtained declassified documents from RGASPI, the former

Communist Party archive.      RGASPI is not an intelligence archive.       At Andrew’s

suggestion, Lokhova began a PhD in Soviet Intelligence Studies in 2004.

       28.     In 2004, Lokhova left academia to pursue a career in finance. From 2004

until January 2012, Lokhova worked in London for the UK operations of Morgan
                                                                             1:19-cv-632
Stanley, Citibank, Legal and General, and Troika Dialog UK, Ltd., respectively. Troika

Dialog was an independent investment bank acquired by Sberbank on April 23, 2012.

Lokhova took a leave of absence fromTroika Dialog in early January 2012, after raising a

discrimination complaint.    She resigned from Troika Dialog before the Sberbank

takeover.    Lokhova won her hard-fought discrimination case in a UK court against

Sberbank.

       29.     Lokhova has never worked for an entity associated with the Russian State.

       30.     In 2012, Andrew contacted Lokhova. Andrew suggested to Lokhova that

she restart her PhD and rejoin the Cambridge Intelligence Seminar (the “Seminar”) as a

distraction from the stress of her ongoing legal case with Sberbank.

       31.     On rejoining academia, Lokhova became peripherally aware of Halper as

a member of the Seminar.

       32.     Lokhova has never had a single conversation with Halper.

       33.     Halper went to great pains to avoid social interaction with Lokhova to the

point of rudeness. Halper made it a point to sleep through Lokhova’s presentations and,

despite the small size of the forum (maybe 20 attendees), Halper would refuse to sit even

on the same side of the table as Lokhova.




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       34.     Other members of the Seminar evaded or simply refused to answer any

direct questions about Halper’s role or background. He was described as “very rich” and

the “money” behind the Seminar.

       35.     Unlike Lokhova, Halper was (and is) deeply, intimately and undeniably

connected with Russian intelligence.
                                                                              1:19-cv-632
       36.     Between 2012 and 2015 Halper invited General Vladimir I. Trubnikov

(“Trubnikov”), former director of Russian intelligence, to teach at the Seminar. 4 A May

2012 course syllabus states, “Ambassador Vladimir I. Trubnikov will comment on the

challenges faced while directing the Foreign Intelligence Service, his tenure as

Ambassador to India, President Putin and the likely course of Russia’s relations with

Britain and the U.S.” In May 2015, Trubnikov returned to teach with Halper at the

Seminar on “current relations between the Russian Federation and the West.” Other

notable intelligence experts attended the event in 2015, including Major Gen. Peter

Williams, a former British commander of the mission to the Soviet Forces in Germany.

Halper’s partner in the Seminar was Cambridge Professor Neil Kent (“Kent”).

According to Kent’s biography, he was a professor from 2002 to 2012 at Russia’s St.

Petersburg State Academic Institute. [https://saraacarter.com/whistleblower-exposes-key-

player-in-fbi-russia-probe-it-was-all-a-set-up/].



       4
               Christopher Steele (“Steele”) told the FBI that General Trubnikov was one
of the sources of the infamous Steele dossier. [https://dailycaller.com/2019/05/16/steele-
dossier-sources-state-department/ (“Dossier author Christopher Steele identified a former
Russian spy chief and a top adviser to Russian President Vladimir Putin as being
involved in handling potentially compromising information about President Donald
Trump, State Department notes show. In her notes, State Department official Kathleen
Kavalec also referred to the two Russians – former Russian foreign intelligence chief
Vyacheslav Trubnikov and Putin aide Vladislav Surkov – as ‘sources.’”). Lokhova has
never met General Trubnikov.


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       37.    Halper knew from his connections to Trubnikov and Kent that Lokhova

was not a Russian spy.

A.     GENERAL MICHAEL T. FLYNN

       38.    Michael T. Flynn graduated from the University of Rhode Island in 1981

with a degree in Management Science. He holds three graduate degrees: a Master of
                                                                            1:19-cv-632
Business Administration in Telecommunications from Golden Gate University, San

Francisco; a Master of Military Arts and Sciences from Fort Leavenworth, Kansas; and a

Master of National Security and Strategic Studies from the United States Naval War

College. He also holds an Honorary Doctorate of Laws from The Institute of World

Politics, Washington, D.C. General Flynn is a graduate of the Army’s Intelligence

Officer Basic, Advanced, and Electronic Warfare Courses; the Combined Armed

Services Staff Course; the United States Army Command and General Staff College and

School of Advanced Military Studies; and the United States Naval War College. He was

commissioned a second lieutenant in Military Intelligence. His first assignment was as a

paratrooper of the 82nd Airborne Division at Fort Bragg, North Carolina. Since then, he

has served in a variety of command and staff positions to include, Commander, 313th

Military Intelligence Battalion and G2, 82nd Airborne Division; G2, 18th Airborne Corps,

CJ2, CJTF-180 Operation Enduring Freedom (OEF) in Afghanistan; Commander, 111th

Military Intelligence Brigade at the Army’s Intelligence Center at Fort Huachuca,

Arizona; Director of Intelligence, Joint Special Operations Command with duty in OEF

and Operation Iraqi Freedom (OIF); Director of Intelligence, United States Central

Command with duty in OEF and OIF; Director of Intelligence, the Joint Staff; Director of

Intelligence, International Security Assistance Force-Afghanistan and US Forces-




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Afghanistan and Special Assistant to the Deputy Chief of Staff, G2. General Flynn’s

awards include the Defense Superior Service Medal (with 3 Oak Leaf Clusters), Legion

of Merit (with Oak Leaf Cluster), Bronze Star Medal (with 3 Oak Leaf Clusters),

Meritorious Service Medal (with Silver Oak Leaf Cluster), Joint Service Commendation

Medal, Army Commendation Medal (with 4 Oak Leaf Clusters), the NATO Service
                                                                                   1:19-cv-632
Medal, and several service and campaign ribbons. General Flynn also has earned the

Ranger Tab and Master Parachutist Badge, and the Joint Staff Identification Badge. In

April 2012, President Barack Obama nominated General Flynn to be the 18th Director of

the Defense Intelligence Agency (DIA). General Flynn became Director of the DIA on

July 24, 2012.

       39.       General Flynn is happily married and has two sons.

B.     THE CAMBRIDGE DINNER – FEBRUARY 28, 2014

       40.       In January 2014, Dearlove and Andrew invited Lokhova to attend a group

dinner with General Flynn. Dearlove – former director of MI6 – knew that Lokhova

was born in Russia. Dearlove had no concerns with Lokhova. Dearlove would

never have allowed Lokhova to attend an event with General Flynn if Dearlove had

had any concerns with Lokhova.

       41.       The purpose of the dinner was to promote the program that was to become

the   “Cambridge      Security   Initiative”   (CSI),   a   group   chaired   by    Dearlove.

[https://thecsi.org.uk/]. The object of CSI was to advance education in international

security and intelligence issues and to help support graduate students, such as Lokhova,

while they were studying at Cambridge.




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         42.       Lokhova arrived at the dinner with Dr. William Foster (“Foster”). Foster

was (and is) Fellow in History and Vice-Principal of Homerton College at Cambridge.

He is Director of Studies and Senior Lecturer in the history of modern and contemporary

war      at     Homerton.     [https://www.homerton.cam.ac.uk/academicstaff/williamfoster;

https://www.hist.cam.ac.uk/directory/whf21@cam.ac.uk].         At the start of the dinner,
                                                                               1:19-cv-632
Foster and Lokhova discussed a troublesome student. General Flynn briefly introduced

himself to Foster and Lokhova.

         43.       Approximately twenty people attended the dinner. Lokhova sat between

Foster and Dearlove on the other side of the table from General Flynn. Lokhova never

sat next to General Flynn.

         44.       At the end of the dinner, Andrew invited Lokhova to address General

Flynn.        Lokhova participated in a brief, public exchange with General Flynn and

Dearlove. No one expressed any concerns of any kind.

         45.       Lokhova took photographs of the dinner event which completely debunk

the false narrative that Halper and the media Defendants published about Lokhova,

General Flynn and the February dinner event. Although General Flynn appears in the

photographs, Halper does not:




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No one remembers Halper attending the event because, in truth, Halper was not there. 5

       46.    Nothing inappropriate happened at the dinner. DIA representatives who

attended the dinner raised no concerns. After the dinner, General Flynn left with DIA

official, Dan O’Brien.

       47.    Andrew asked Lokhova to stay in occasional contact with General Flynn.

Andrew hoped that General Flynn might speak again at the Seminar or do business with

CSI. Lokhova had occasional email contact with General Flynn after February 2014.

Andrew was copied or saw all the email exchanges, which were general in nature.

       48.    At no point did General Flynn sign any emails as “General Misha”.

       49.    General Flynn never invited Lokhova to Moscow on an official visit or

otherwise.


       5
              In February 2017, Foster told Halper the correct account of what happened
the evening of the dinner with General Flynn. Halper knew the truth, yet continued to
knowingly publish falsehoods about Lokhova and General Flynn to the media Defendants
and others.



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       50.     General Flynn never asked Lokhova to serve as a translator.

       51.     Lokhova is not a translator.

       52.     In April 2014, General Flynn announced his retirement.

       53.     Between 2014 and 2016, Lokhova continued to participate actively in the

Seminar and with CSI without any issues. Lokhova was introduced to many former and
                                                                             1:19-cv-632
serving security chiefs. Neither Dearlove, nor Halper, nor Andrew, nor Kent, nor anyone

else ever raised any concerns about Lokhova.

       54.     In fact, in September 2015, Lokhova participated in a Cambridge – U.S.

Conference sponsored by CSI. Dearlove chaired the conference. Andrew was a keynote

speaker. The conference schedule identified Dearlove and Andrew, and contained the

following biographies:




Dearlove and Andrew’s good names and reputations were behind the conference. They

had every good reason to invite the most highly qualified, reputable and trustworthy

speakers. The credentials of all speakers were appropriately vetted.

       55.     Lokhova spoke on September 28, 2015:


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                                                                               1:19-cv-632



Dearlove, Andrew and Halper knew that Lokhova was not a Russian spy. After the

dinner in February 2014, Dearlove, Andrew and Halper approved Lokhova’s

appointment to the prestigious, honorary position of CSI Fellow. Dearlove, Andrew

and Halper knew that nothing inappropriate had occurred between General Flynn

and Lokhova at the February 2014 dinner in Cambridge. Dearlove, a veteran of

British intelligence, never would have allowed Lokhova to actively participate in the

CSI conference in September 2015 (or any other Cambridge event for that matter)

if Dearlove had any concern whatsoever with Lokhova’s interactions with General

Flynn in February 2014.

       56.     In 2014, Andrew suggested Lokhova write a book based on her material

from the RGASPI archive. He introduced her to his literary agents.

       57.     Following the dinner with General Flynn, Andrew was so impressed by

the quality of Lokhova’s material he suggested they should co-author the book. A

lucrative publishing contract was obtained from Basic Books and Penguin. Basic offered

an advance against all royalties and all proceeds from the disposition of subsidiary rights

due to the Author under this Agreement; the Publisher shall pay the Author the sum of




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one hundred seventy-five thousand dollars ($175,000). The UK publisher offered GBP

20,000.

       58.     Lokhova shared all her research with Andrew. Under his editorship, she

copyrighted her material in an article published by Routledge in a book in April 2014.

The article publicly lists all Lokhova’s sources.
                                                                              1:19-cv-632
       59.     In December 2015, General Flynn traveled to Moscow as a private citizen

and was paid $45,000 to speak at a Russia Today (“RT”) event, where he shared a table

with President Vladimir Putin and others, including Green Party candidate, Jill Stein

[https://www.jill2016.com/]:




       60.     Before he made the trip to Moscow, General Flynn advised his former

employer, the DIA, about the trip; he then attended a “defensive” or “protective” briefing

before he ever sat alongside Russian President Vladimir Putin at the RT dinner or before

he talked with then-Russian Ambassador Sergey Kislyak. When General Flynn returned

from Moscow, he spent time briefing intelligence officials on what he learned during the


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Moscow contacts. Between two and nine intelligence officials attended the various

meetings with General Flynn about the RT event, and the information was moderately

useful,         about   what     one     would     expect    from     a    public     event.

[https://thehill.com/opinion/white-house/423558-exculpatory-russia-evidence-about-

mike-flynn-that-us-intel-kept-secret]. 6
                                                                                1:19-cv-632
          61.      Lokhova never discussed going to Moscow with General Flynn. Indeed,

she did not even know about General Flynn’s trip.

C.        THE COUNTERINTELLIGENCE CAMPAIGN

          62.      In late 2015, General Flynn informally became an adviser to the Trump

presidential campaign.

          63.      Soon after General Flynn became an informal advisor to the Trump

campaign, Halper came back into the picture. 7

          64.      On January 12, 2016, Andrew emailed Lokhova, and invited her and her

partner, David North (“North”), to Andrew’s house to have dinner with Halper and his

wife. Two dates in February were offered.

          65.      Andrew stated that the purpose of the dinner was to discuss the book that

Lokhova and he were authoring. Lokhova was perplexed. At no point before this

unexpected invitation had Halper expressed any interest in Lokhova’s work.




          6
                   In 2016, the Obama Administration renewed General Flynn’s security
clearance.
          7
               Sometime in early 2016, the FBI began to investigate Flynn “based on his
relationship with the Russian government”. [https://www.foxnews.com/politics/flynn-
investigation-effort-to-trap-him].



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       66.     In truth, Halper had no interest in Lokhova’s work. Rather, Halper wanted

to have dinner with Lokhova to probe her for information relating to Flynn in the hopes

that his FBI handlers might find a basis upon which to file an application to conduct

surveillance and spy on General Flynn.

       67.     Lokhova declined the invitation. Halper was, in her opinion, a loathsome
                                                                            1:19-cv-632
character with whom Lokhova did not wish to share time.

       68.     Andrew became outraged by Lokhova’s refusal to attend the dinner.

Thereafter, relations deteriorated between Andrew and Lokhova.         In March 2016,

Andrew insisted on weekly meetings and close supervision of Lokhova’s material as a

condition of continuing with the book. In April 2016, Andrew walked away from the

lucrative publishing contract with Lokhova.

       69.     For the balance of 2016, Lokhova was absent from Cambridge. Since

2016, Lokhova has had limited dealings with Andrew and the Seminar group.

       70.     In April 2016, Kent advised informed Lokhova that Halper and another

academic, Dr. Peter Martland (“Martland”), were making statements about Lokhova’s

background and work. Halper and Martland were asking pointed questions about who

Lokhova was meeting with, where and when. Foster later advised Lokhova that Halper

was spying on Lokhova to get to General Flynn.             Connecting Flynn to Russian

intelligence was the foundation and launching pad for the Halper/FBI narrative that

members of the Trump campaign were colluding with the Russians.

       71.     In July 2016, Andrew informed Lokhova that “ludicrous rumours were

circulating” about her family’s links to Russian intelligence.




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       72.    Also in July 2016, Halper resigned from his role as co-convener of the

Seminar. 8 When he resigned, Halper did not mention “Kremlin-linked” interference in

the Seminar as the reason for his departure. To the contrary, Halper reported that he was

retiring for personal reasons and heading back to the United States permanently.

[https://twitter.com/RealSLokhova/status/1128104248883892224 (Email from Andrew);
                                                                             1:19-cv-632
id. https://twitter.com/RealSLokhova/status/1128068474700386304].

       73.    Halper concealed the fact that his resignation from the Seminar was

because of his involvement as a spy in an FBI counterintelligence operation. Halper

concealed the fact that he was aiding and abetting agents of the FBI in their efforts to

create the false narrative (the “insurance policy”) of “collusion” between the Trump

campaign and the Russian government.

       74.    In September 2016, Lokhova won publishing contracts with Norton US

and Harper Collins for her book, The Spy Who Changed History.

       75.    On November 8, 2016, Donald Trump was elected to be the 45th President

of the United States of America.




       8
                Halper resigned from the Seminar in July 2016 to assist the FBI in its
covert investigation of the Trump campaign. In July 2016, the FBI officially began a
covert counterintelligence operation known as “Crossfire Hurricane”. The FBI launched
operation Crossfire Hurricane after Papadopoulos revealed he knew of hacked
Democratic Party emails to Australian Ambassador Alexander Downer over late-night
drinks in London. Downer notified U.S. intelligence officials of his run-in with
Papadopoulos after the emails, which contained damaging information about 2016
Democratic presidential nominee Hillary Clinton, were leaked to the public by
WikiLeaks. On September 2, 2016, Halper unsolicitedly emailed Papadopoulos offering
to pay the Trump adviser $3,000 to write an academic paper about a gas field located in
the Mediterranean Sea. Thereafter, Halper and CIA honeypot, Azra Turk, met with
Papdopoulos. Halper lied to Papadopoulos and introduced Turk as his “assistant”.
[https://dailycaller.com/2018/05/21/fbi-informant-george-papadopoulos/].



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D.     COLLUSION AND DEFAMATION

       76.     After November 8, 2016, Halper took action in furtherance of the

conspiracy to defame Lokhova and General Flynn and to advance the wholly fabricated

and fictitious “Russian collusion” narrative. 9

       77.     In order to carry out the conspiracy, Halper employed multiple agents
                                                                              1:19-cv-632
across multiple platforms. Halper used his experience and skill as a counterintelligence

asset to undertake the defamation campaign against Lokhova.

       78.     Halper seeded the media Defendants (who already harbored extreme bias

against and ill-will towards President Trump) with false and defamatory statements about

Lokhova and General Flynn – statements that were eagerly republished with no

evidentiary support and for the sole purpose of advancing the sensational and false

narrative.

       1.      The FT Article

       79.     On December 17, 2016, while due to give birth, Lokhova became aware of

an article that had been published in the Financial Times (FT) on December 16.

https://www.ft.com/content/d43cd586-c396-11e6-9bca-2b93a6856354 (the “FT Article”).

       80.     The FT Article, entitled “Intelligence experts accuse Cambridge forum

of Kremlin links”, reported that Dearlove and Halper had cut ties with “fellow



       9
                A week after President Trump’s election win, Christopher Steele briefed
Sir Charles Farr (“Farr”), who then chaired Britain’s Joint Intelligence Committee, about
his investigation of Trump’s possible ties to Russia. Farr passed the information to other
high-level British intelligence officials, including MI5 director Andrew Parker and MI6
director Alex Younger. [https://dailycaller.com/2019/05/22/nunes-trump-theresa-may-
steele/]. Upon information and belief, Farr, Parker and/or Younger in turn passed the
information on to Dearlove and Halper, which caused Halper and Dearlove to contact the
Financial Times in November/December 2016. See infra.



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academics” at Cambridge “in a varsity spy scare harking back to the heyday of Soviet

espionage at the heart of the British establishment.” The FT Article stated that Dearlove

and Halper resigned “because of concerns over what they fear could be a Kremlin-backed

operation to compromise the group.” Halper said he stepped down due to “unacceptable

Russian influence on the group”.
                                                                                 1:19-cv-632
       81.      The statements made by Halper to the FT were of and concerning

Lokhova. The statements were false. Lokhova was not part of a “Kremlin-backed

operation to compromise” the Seminar because, in truth, there was no such “operation”.

Halper completely fabricated the so-called Russian “operation”.

       82.      Halper’s misrepresentations and propaganda in the FT Article were

designed to seed the false narrative about Lokhova and stoke fears and paranoia about

Russian subversion of the west and meddling in the 2016 presidential election.

       83.      The FT republished the FT Article to its 3.44 Million followers on Twitter.

https://twitter.com/FT/status/809871591513489408          (December        16,        2017)

https://twitter.com/FT/status/810159537508458496 (December 17, 2017)]. Thereafter,

between 2017 and the present, the FT Article was republished thousands of times.

[https://twitter.com/search?q=https%3A%2F%2Fwww.ft.com%2Fcontent%2Fd43cd586-

c396-11e6-9bca-2b93a6856354&src=typd].

       84.      After publication of the FT Article, Halper began to contact other media

outlets to solicit help in publicizing the false narrative about Lokhova and Russian

intemeddling.




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       85.     Halper told Sean O’Neill (“O’Neill”), a chief reporter with The Times of

London (Britain’s oldest national daily newspaper), that Lokhova was a Russian spy. On

December 19, 2019, O’Neill called Lokhova and repeated the false accusation.

       86.     On January 23, 2017, President Trump appointed General Flynn as his

National Security Advisor (“NSA”).
                                                                             1:19-cv-632
       87.     On February 13, 2017, General Flynn resigned as NSA.

       88.     Halper and the FBI saw General Flynn’s resignation as the catalyst and

opportunity to accelerate the defamation campaign and solidify the belief that “Russian

collusion” was real.

       2.      The Andrew Article

       89.     Halper enlisted Andrew and Dearlove in his scheme to defame Lokhova

and General Flynn.

       90.     On February 19, 2017, Andrew published an article in the Sunday Times

of London, entitled “Impulsive General Misha shoots himself in the foot”.

[https://www.thetimes.co.uk/article/impulsive-general-misha-shoots-himself-in-the-foot-

l7gfpbghr (the “Andrew Article”).

       91.     The Andrew Article did not mention Lokhova by name, but was most

certainly of and concerning Lokhova. The Andrew Article contained many untruths

about Lokhova and General Flynn and was laden with sexual innuendo. For instance,

Andrew falsely stated that General Flynn asked Lokhova to travel with him as a translator

to Moscow on his next official visit and that General Flynn signed an email to Lokhova

as “General Misha”.




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       92.     Halper and Andrew knew these statements were false. Neither Halper nor

Andrew ever heard General Flynn ask Lokhova to travel with him to Moscow as a

translator or otherwise.

       93.     Moreover, Andrew was copied on Lokhova’s email communication with

General Flynn. General Flynn never signed a single email, “General Misha”.
                                                                             1:19-cv-632
       94.     Halper and Andrew created the phraseology “General Misha” because

they knew these words would receive international attention by the media and users of

social media. The words were sexy and unforgettable. Halper and Andrew knew the

words implied and would be immediately understood to mean that there was an intimate

relationship between General Flynn and Lokhova.        Indeed, the defamatory phrase

“General Misha” has been repeated millions of times and lives in infamy on the Internet

and in the Twitterverse:

       https://twitter.com/TheDailyEdge/status/847992638640881665
       (“Mike Flynn didn’t disclose contacts w/Russian spy ‘expert’ Svetlana Lokhova,
       he signed emails to her ‘General Misha’”);

       https://twitter.com/blakehounshell/status/848012993262735361
       (“Michael Flynn signed his emails to a Russian-British graduate student ‘General
       Misha’”);

       https://twitter.com/ericgarland/status/848088269468438528
       (“Flynn signed his letters ‘General Misha.’ Doesn’t every three-star go by his
       own Russian nickname?”);

       https://twitter.com/tedlieu/status/848570747152777217
       (“Hmmm, Trump's former National Security Adviser & confidant #Flynn signed
       email as ‘General Misha’ to a Russian woman”);

       https://twitter.com/olgaNYC1211/status/901225253216583681
       (“Thread on General Misha’s honey pot.. and yes he had one who most definitely
       is Russian Intel”);




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    https://twitter.com/carolecadwalla/status/936664798363824128
    (“The strange case of General ‘Misha’ & the Cambridge University intelligence
    group with ‘unacceptable’ links to Kremlin”);

    https://twitter.com/michaeldweiss/status/936601257682272258
    (“General Misha’s in the soup”);

    https://twitter.com/USseriously/status/997683832760471552
    (“Mr Flynn continued an unclassified email correspondence with the woman,
                                                                        1:19-cv-632
    Svetlana Lokhova, occasionally signing off his emails ‘general Misha’, using the
    Russian nickname for Michael”);

    https://twitter.com/profcarroll/status/997648224616960001;
    (“FBI informant, an American academic, who teaches in Britain, had contacts
    with ‘General Misha’ who appeared captivated by a Russian student at Cambridge
    University in 2014 (Svetlana Lokhova?)”);

    https://twitter.com/LaurenWern/status/998962697659133952
    (“Flynn communicated w this woman & failed to disclose the interactions on his
    govt disclosure forms. He signed his emails to her w ‘General Misha,’ the
    Russian translation of his name”);

    https://twitter.com/moscow_project/status/1069978961734762496
    (“Flynn signed his correspondence with her—which he didn’t disclose—as
    ‘General Misha’ the Russian version of Mike”);

    https://twitter.com/DrDenaGrayson/status/1073681787786854401
    (“             Mueller *hammers* Misha          Flynn”);

    https://twitter.com/LouiseMensch/status/1075088383070924801
    (“You know what @genflynn? If you “forgot” any part of it, cc @RealSLokhova,
    you may want to start singing much louder before March, ‘General Misha’”);

    https://twitter.com/olgaNYC1211/status/1019674134677204993;
    (“Flynn had his own honey pot in 2015. Lokhova. he even signed off as General
    Misha. A very common KGB tactic”);

    https://twitter.com/olgaNYC1211/status/1075265421706780672
    (“Flynn would have had intel that Russia was prepare to invade Crimea when he
    was meeting with his honey pot. He signed off on emails as General Misha”);

    https://twitter.com/olgaNYC1211/status/1088114929297776640
    (“Flynn plotted to kidnap Erdogan’s enemy and deliver him, was working on a
    shady nuclear deal, and had a honey pot in the past … Yes his Uk Russian spy
    who he addressed himself as general Misha”);




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       https://twitter.com/MelissaJPeltier/status/1082811144769810432
       (“Another point – GRU is Russian MILITARY intelligence. As in a MILITARY
       op. Like our DIA. The one that General Michael ‘Misha’ Flynn was head of until
       Obama fired him”);

       https://twitter.com/TimothyDSnyder/status/1117480606156374016
       (“General Michael Flynn, an advisor of the Trump campaign and then Mr.
       Trump's national security advisor, called himself ‘General Misha’”);

       https://twitter.com/LouiseMensch/status/1113280471557918720           1:19-cv-632
       (“He’s a traitor. Doesn’t General Misha keep in touch with his old flame, then?”).

       95.       The Andrew Article was shared thousands of times on Twitter.

[https://twitter.com/search?q=https%3A%2F%2Fwww.thetimes.co.uk%2Farticle%2Fimp

ulsive-general-misha-shoots-himself-in-the-foot-l7gfpbghr&src=typd].

       96.       Andrew refused to correct the Andrew Article. He later falsely claimed

that the Article was written to head off “fake news” stories. In truth, Andrew wrote and

published the Andrew Article in concert with Halper as part of the conspiracy to defame

and smear Lokhova and to connect General Flynn to a Russian.

       3.        The WSJ Article

       97.       Halper told the Wall Street Journal that Lokhova and Flynn had an affair.

       98.       On February 28, 2017, two WSJ “journalists” emailed Lokhova asking

about her “relationship with Flynn”. Lokhova did not reply. She was ill and dealing with

a newborn.

       99.       When they could not get a comment out of Lokhova, the WSJ

“journalists” then put it to senior academics at Cambridge that Lokhova and General

Flynn had had an affair. The WSJ was informed that the accusations were untrue. In

spite of these red flags and reasons to doubt Halper’s veracity, the Journal published

Halper’s lies.




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       100.   On March 1, 2017, Andrew emailed Lokhova as follows:

       “Dear Svetlana, Neil rang me this morning and has probably briefed you by now
       about WSJ. Because I refused to speak to them when they rang, I had no idea
       they were following such an outrageous story. Understandable perhaps if Neil is
       right about the source, but nonetheless appalling best wishes Chris.”

Lokhova telephoned Kent to discuss the matter. Kent told Lokhova that the WSJ had
                                                                         1:19-cv-632
contacted him and that the WSJ was accusing Lokhova of having an affair with General

Flynn. Later on March 1, Andrew sent Lokhova a second email that stated:

       “Dear Svetlana, I’ve been contacted by WSJ and refused all comment. David
       Ignatius of Washington Post is in UK at moment. I’ve known him for years and
       trust him. I’ve given him your email and he accepts that if you don’t wish to
       respond, that’s an end to it. I’ve told him you’ve signed a US contract for a
       blockbuster and that this will later be a big story for him. He trusts my judgement
       on that! Flynn’s career for years past is obviously going to continue to be
       investigated. David has an inside track on that which I think he’d share with you
       if you’re interested.”

       101.   On March 1, 2017, Lokhova received an email from the WSJ, which

stated, “I'm a reporter at the Wall Street Journal and am researching a story that will

likely mention your relationship with … Gen. Michael Flynn.”

       102.   North issued a flat denial to the WSJ as follows:

       “I am writing on behalf of my long-term partner Svetlana Lokhova. Ms Lokhova
       is currently unwell, and your enquiries have made that condition worse. She is
       recovering from the recent birth of our daughter. Your baseless allegations have
       been relaid [sic] to me by two third parties whom you have seen fit to contact.
       The allegations are deeply upsetting and hurtful to Ms Lokhova and our family.
       The underlying assumptions behind the allegations are preposterous. Having
       discussed this matter with Ms Lokhova, I can assure you that they without any
       foundation. Further, it is likely that your source is acting maliciously in inventing
       these falsehoods. Re. General Flynn Ms Lokhova has met General Flynn on only
       one occasion at a dinner in Cambridge in February 2014. The dinner was
       attended by upwards of a dozen people, and she had a twenty-minute public
       conversation with General Flynn and others. They have not met or spoke since
       then … If you are prepared to share with me what it is you intend to publish in
       advance, I will endeavour to point out any further falsehoods to spare more harm
       to Ms Lokhova. I trust that this is the end of the matter.”




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         103.     Lokhova forwarded the statement to David Ignatius at the Post. Ignatius

thanked and later represented that he had no interest in publishing anything, as there was

nothing to publish.

         104.     On March 17, 2017, the WSJ published an article, entitled “Mike Flynn

Didn’t       Report      2014     Interaction     With    Russian-British      National”.
                                                                              1:19-cv-632
[https://www.wsj.com/articles/mike-flynn-didnt-report-2014-interaction-with-russian-

british-national-1489809842 (the “WSJ Article”)].

         105.     The sources of the WSJ Article were Halper and Andrew.

         106.     The gist and defamatory implication of the WSJ Article was that Lokhova

engaged in unlawful or suspicious interactions with General Flynn on behalf of the

Russia government that should have been reported to the DIA. The WSJ Article is

intentionally laden with false facts in order to support Halper’s preconceived false

narrative.      The Article referred to the February 2014 dinner as a “U.K. security

conference”.      It was not. It was a dinner. The Article misstated that General Flynn’s

contact with Lokhova at the Cambridge dinner “came to the notice of US intelligence”. It

did not. The Article falsely stated that Lokhova was a “foreign stranger”. She was a

citizen of the UK. Moreover, Lokhova’s name, the fact that she was invited to the dinner

by Dearlove, and the fact that she would show her research were all pre-reported to the

DIA. The Article falsely insinuated and implied that General Flynn and Lokhova had

engaged in “anomalous behavior” and that there were inappropriate interactions between

the two.     The WSJ Article falsely stated that Lokhova worked for “Russia’s state-

controlled Sberbank” and suggested that the “contact” between General Flynn and

Lokhova at the February 2014 dinner might be the subject of the FBI’s “wide-ranging




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counterintelligence probe into any contacts that Trump campaign personnel may have

had with Russian officials”. The WSJ Article further falsely implies that Lokhova had an

ulterior motive in attending the dinner and that she “approached Mr. Flynn at the start”

(untrue) and “sat next” to him (false) with a view to gathering information from him on

behalf of the Russian government. The Article portrays Lokhova and her behavior as so
                                                                              1:19-cv-632
suspicious that it leaves the reader in no doubt that Lokhova was an agent of an

“adversarial power”.

       107.    The WSJ Article was republished thousands of times on Twitter.

[https://twitter.com/search?q=https%3A%2F%2Fwww.wsj.com%2Farticles%2Fmike-

flynn-didnt-report-2014-interaction-with-russian-british-national-

1489809842&src=typd].      It was instantly and universally understood to imply that

General Flynn and Lokhova had engaged in wrongdoing. See, e.g.:

       https://twitter.com/Amy_Siskind/status/842955271429414912
       (“I hope they get this guy to sing about Trump before he goes to prison!”);

       https://twitter.com/kylegriffin1/status/843115804187148288
       (“Mike Flynn didn't report 2014 contact w/ Russian-British national—contact that
       came to the notice of U.S. Intel”);

       https://twitter.com/TomRtweets/status/843185113022324736
       (“Flynn is on another planet”);

       https://twitter.com/thegarance/status/847853482405240832
       (“an ‘erotic postcard’ sent by Stalin...’asked the woman to travel w
       him’...’continued an email exchange’...”).

       108.    On March 17, 2017, Bill Palmer (“Palmer”), author of the left-wing

“Palmer Report”, republished the Journal’s false statements in an online article, entitled

“Exposed: Michael Flynn has been secretly meeting with Russians since his time at




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the DIA”. [https://www.palmerreport.com/news/svetlana-lokhova-michael-flynn-russia-

moscow/2150/ (the “First Palmer Article”)].

       109.   The First Palmer Article stated that “the Wall Street Journal is now

reporting that Flynn’s pattern of covertly meeting with Russians dates back to his final

days at the Defense Intelligence Agency before he was fired.” Palmer captured the
                                                                              1:19-cv-632
defamatory implication – the gist – of the WSJ Article:

       “Flynn met with a young Russian woman named Svetlana Lokhova while at a
       conference in the United Kingdom in 2014. If this Russian woman came out of
       nowhere and approached Flynn, then he would have been expected and required
       to report the encounter when he got home. These are the kinds of tactics often
       used by foreign spies, and are therefore reported and tracked – particularly when
       it involves the head of the DIA. But instead there is no record that Flynn reported
       the meeting, thus suggesting that the meeting involved something on Flynn’s part
       that he didn’t want the U.S. government knowing about. This raises several
       questions. Was this Russian woman (source: Wall Street Journal) sent to this
       UK conference to recruit Michael Flynn for the Kremlin?”

       110.   On March 19, 2017, Kent emailed the WSJ to correct the grave errors of

the WSJ Article. Kent stated as follows:




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       111.   In spite of repeated requests to retract and/or correct the WSJ Article, from

both Lokhova and Kent, the Journal refused (and refuses) to take any action to mitigate

the damage caused to Lokhova.

       112.   The WSJ Article remains on the Internet. The hyperlink is fully active and

the Journal continues to earn substantial income from publication of the defamation.
                                                                              1:19-cv-632
       4.     The Guardian Article

       113.   On March 22, 2017, Lokhova received the following email from reporter

Nick Hopkins with the Guardian:

       “We are researching a story about General Michael Flynn and the circumstances
       that led to his appointment as President Trump’s NSA last November, and the
       concerns this appeared to generate within the American intelligence community.
       As you know, the Wall Street Journal published a story a few days ago which
       named you as someone who had contact with General Flynn in 2014. At the time,
       General Flynn was head of the DIA. An extremely sensitive post. The WSJ
       reported that General Flynn did not report your meeting to the Defence
       Department, which the WSJ suggested was unusual, as you were – and remain –
       an expert on Russian intelligence, and he was, primarily, America's 'top spy’ …
       Our story intends to reflect the meeting in Cambridge which, we understand, was
       being discussed by American and British intelligence officials in the period just
       before General Flynn’s appointment. We understand this was one of a number of
       episodes US officials were assessing to determine what they suggested, if
       anything, about General Flynn’s suitability for such a security sensitive position.
       General Flynn’s spokesman has told us that the meeting with you in 2014 was
       ‘incidental’ and nothing more.
       …

Hopkins’ email went on to say that:

       “ I wanted to give you an opportunity to give an on the record comment about the
       story in the WSJ, and also to address the nature and longevity of your connection
       with General Flynn, which appears to have raised questions, perhaps entirely
       unfairly, about his suitability for the NSA post.”

Earlier in the day, Hopkins emailed Andrew as follows:




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       “We have been told, by multiple sources, both here and in the US, that American
       intelligence officials were fretting about General Flynn ahead of his appointment
       as NSA. These concerns were based on his alleged behaviours in the previous
       two years, which included his trips to Russia. Their fears, whether they were
       justified or not, also included an assessment of his connection to a woman named
       by the WSJ as Svetlana Lokhova … We have other material that suggests the
       meeting in Cambridge was the start, not the end, of their correspondence. Your
       own piece in the Sunday Times suggested a connection which endured beyond the
       seminar, and to the casual reader (as I was at the time), a naive behaviour rather
       unbecoming and of the head of the DIA. You have told Luke – quite 1:19-cv-632
                                                                              forcefully I
       understand – that we would be quite wrong to suggest that anything untoward
       happened in Cambridge. Nor will we. But we do intend to set out the broad fears
       of US intelligence officials and explain why they were as concerned as they
       seemed to be, even if these anxieties might have been misplaced.”

       114.    On March 31, 2017, the Guardian published an online story written by

Luke Harding (“Harding”), 10 entitled “Michael Flynn: new evidence spy chiefs had

concerns        about        Russian        ties”.      [https://www.theguardian.com/us-

news/2017/mar/31/michael-flynn-new-evidence-spy-chiefs-had-concerns-about-russian-

ties (the “Guardian Article”). The next day, story appeared on the front page of the

Guardian print edition.

       115.    The sources of the Guardian Article were Halper, Andrew and the WSJ.

       116.    The Guardian Article began with the false and defamatory statement that

“US and UK officials were troubled by Moscow contacts and encounter with woman

linked to Russian spy agency records”. (Emphasis in original). The Guardian described


       10
                Harding is one of the leading proponents of the failed “Russian collusion”
narrative. He is a friend of Christopher Steele, the putative author of the wholly fake and
discredited “Steele dossier”, a compilation of lies calculated to show “collusion” between
members      of     the    Trump      campaign      and     the     Russian    government.
https://www.washingtontimes.com/news/2018/jan/7/christopher-steele-described-trump-
russia-dossier-/]. In 2017, Harding published a book called “Collusion”. An entire
chapter     of     Harding’s      book      is     devoted      to    “General      Misha”.
[https://www.penguinrandomhouse.com/books/566132/collusion-by-luke-
harding/9780525562511/]. It is no coincidence that Halper used Harding and the
Guardian as catalysts to promote and amplify the false and defamatory statements about
Lokhova, General Flynn and “collusion” between the Trump campaign and Russia.


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Lokhova as a “historian and a leading expert on Soviet espionage”. The Guardian

implied that Lokhova had special access to documents in the possession of the “GRU –

Russia’s military spy agency.” The Guardian Article falsely stated that “US intelligence

officials had serious concerns about Michael Flynn’s appointment as the White House

national security adviser because of his … encounter with a woman [Lokhova] who had
                                                                              1:19-cv-632
trusted access to Russian spy agency records”. The Guardian further falsely reported that

“US and British intelligence officers discussed Flynn’s ‘worrisome’ behaviour”; that

“[m]ultiple sources, who spoke on the condition of anonymity, said the CIA and FBI

were discussing this episode, along with many others, as they assessed Flynn’s suitability

to serve as national security adviser”; and that the Cambridge dinner meeting “was part of

a wider pattern of ‘maverick’ behaviour which included repeated contacts with Russia”.

Finally, the Guardian Article repeated Andrew’s misrepresentations in the Andrew

Article.

         117.   The Guardian Article went viral. It was shared via Twitter by virtually

every major news network hundreds of thousands of time on April 1, 2017. Between

2017 and the present day, it was republished over and over hundreds of thousands more

times.     [https://twitter.com/search?q=https%3A%2F%2Fwww.theguardian.com%2Fus-

news%2F2017%2Fmar%2F31%2Fmichael-flynn-new-evidence-spy-chiefs-had-

concerns-about-russian-ties&src=typd].      The    Guardian   Article   was   universally

understood to imply that Lokhova was an agent of Russian intelligence and that she and

General Flynn had engaged behavior that caused “US intelligence officials” “serious

concerns”. See, e.g.:

       https://www.palmerreport.com/opinion/internet-michael-flynn-russia-roger-stone-
guccifer/2184/



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       (“Later he invited Lokhova to travel with him to Moscow, asking her to serve as a
       translator. He also sent her an email and signed it ‘General Misha’ – Russian for
       Michael. And it turns out Lokhova is so well connected to Putin and the Russian
       spy world that she was allowed to see the Russian GRU spy records, which has
       only happened two or three times during Putin’s entire reign (source: The
       Guardian)”);

       https://www.theatlantic.com/politics/archive/2018/09/michael-flynn-will-be-
sentenced/570538/
       (“Flynn’s questionable ties to Russia were not limited to Kislyak 1:19-cv-632
                                                                            and Russia
       Today: The FBI and the CIA reportedly examined his contact in 2014 with a
       Russian British national, Svetlana Lokhova, who ‘has claimed to have unique
       access’ to the GRU, Russia’s military spy agency”);

       https://twitter.com/4free_Ukraine/status/847845906317815808
       (“Was Svetlana Lokhova, a British-Russian woman with unusual access to
       Russian intelligence, Flynn's handler?”);

       https://twitter.com/ViewFromWise/status/847814384390942720
       (“US & UK intelligence were troubled by Michael Flynn’s Moscow contacts and
       encounter with female Russian spy”);

       https://twitter.com/MalcolmNance/status/848108731896352768
       (“There it is. Flynn poss caught in FSB honeypot w/female Russian Intel asset”);

       https://twitter.com/tedlieu/status/848570747152777217
       (“Hmmm, Trump’s former National Security Adviser & confidant #Flynn signed
       email as ‘General Misha’ to a Russian woman”);

       https://twitter.com/NaveedAJamali/status/933813915162517504
       (“Here’s the other thing to understand about espionage: once you’ve crossed the
       line once, the second time is easier. While at DIA Flynn had contact with
       Svetlana Lokhova who allegedly has Russian intel ties”);

       https://twitter.com/olgaNYC1211/status/911445116975554560
       (“Very troubling story of Flynn with his Honey pot. He signed off on emails as
       General Misha.. year after the GRU meet”).

       118.   Within minutes of publication of the Guardian Article, “unhinged British

witch” Louise Mensch (“Mensch”) began tweeting (republishing) a series of false and

defamatory statements about Lokhova. See, e.g.:

       https://twitter.com/LouiseMensch/status/847814538162565121
       (“What a scoop by @GuardianUS – incredible reporting”)



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       https://twitter.com/LouiseMensch/status/847828054495948801
       (“Svetlana Lokhova, featured in Guardian's Mike Flynn story http://bit.ly/2ojfNic
       worked for known FSB front Sberbank”);

       https://twitter.com/LouiseMensch/status/847899240936476673
       (“Because she is said to be linked to Russian intelligence via Sberbank, who fund
       SVB, subject of the #FISA warrant I reported Nov 7th);

       https://twitter.com/lisagarner_lisa/status/847926170289029120        1:19-cv-632
       (“There’s a Russian spy ring at Cambridge”);

       https://twitter.com/LouiseMensch/status/847894991561261056
       (“Scoop in December, Exclusive Sam Jones at the Financial Times
       #MoscowMisha”);

       https://twitter.com/LouiseMensch/status/847910660314992640
       (“Well sir, I hear she worked for Sberbank. If I may draw you a picture in 3
       images #FISA #SVB #Sverbank #Flynn #Misha”).

       5.     The Daily Mail and the Daily Telegraph Articles

       119.   The velocity of the defamation initiated by Halper, Andrew, the WSJ and

Harding/Guardian steadily increased.

       120.   On March 31, 2017 and April 2, 2017, the Daily Mail and the Daily

Telegraph published back-to-back stories about Lokhova and General Flynn.

[https://www.dailymail.co.uk/news/article-4370168/Flynn-dismissal-linked-meeting-

Cambridge-graduate.html (“Disgraced Trump aide, and questions over his meeting

with Cambridge historian at Intelligence Seminar raised concerns among British

and US security chiefs”); https://www.telegraph.co.uk/news/2017/04/01/cambridge-

university-dragged-row-donald-trumps-ex-spy-chiefs/ (“Cambridge University dragged

into row over Donald Trump's ex-spy chief's links to Russia”) (the “Mail and

Telegraph Articles”)].




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        121.   The sources of the Mail and Telegraph Articles were Halper, Andrew, the

WSJ and the Guardian/Harding.

        122.   The Mail and Telegraph Articles repeated and republished the false and

defamatory statements made in the WSJ Article and the Guardian Article. The Mail

Article was liked 15.9 Million times on Facebook. The Mail Article falsely stated that
                                                                            1:19-cv-632
“[a] meeting with an Anglo-Russian banker once falsely dubbed Crazy Miss Cokehead

has been linked to the controversial dismissal of one of Donald Trump’s aides”. The

Telegraph Article falsely stated that “Mr Flynn, a former lieutenant general in the US

army, struck up a friendship at a Cambridge dinner with a Russian banker turned

academic whom he then sought to enlist as a translator on an official trip to Moscow”.

The Telegraph further falsely stated that “Mr. Flynn’s encounter with Miss Lokhova was

exposed in February 2017 by Andrew. Neither the Daily Mail nor the Daily Telegraph

cited the source(s) for their fabricated statements. However, it is obvious from the

Articles that the sources were Halper, Andrew and the WSJ.

        123.   The Telegraph Article was republished thousands of times on Twitter.

[https://twitter.com/search?q=https%3A%2F%2Fwww.telegraph.co.uk%2Fnews%2F201

7%2F04%2F01%2Fcambridge-university-dragged-row-donald-trumps-ex-spy-

chiefs%2F&src=typd]. As with each and every one of the other defamatory Articles, the

Telegraph Article was accepted as true and republished without any attempt to fact-

check. [See, e.g., https://twitter.com/LizMair/status/999070995037196289 (“This is

interesting.   Always expect the Russians to infiltrate Cambridge :); see also

https://twitter.com/JuneCasagrande/status/1075082928546242560      (“Your      periodic

reminder that in 2014 #Flynn was calling himself ‘General Misha’ in emails he was




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exchanging with a shadowy Russian Brit whom he met at a seminar suspected of

infiltration by Russian spies”)].

          124.    On April 2, 2017, Palmer published another article, entitled “Michael

Flynn invited female Russian operative Svetlana Lokhova to accompany him to

Moscow”.         https://www.palmerreport.com/news/svetlana-lokhova-michael-flynn-russia-
                                                                                  1:19-cv-632
moscow/2150/ (the “Second Palmer Article”)].

          125.    The Second Palmer Article republished the false and defamatory

statements that originated with Halper and Andrew and that were repeated in the

Guardian Article. Palmer stated, “Now it’s being reported by The Guardian that the

woman is indeed some kind of Russian operative – and that Flynn later attempted to

travel back to Moscow with her.” Palmer further stated that:

          “The woman in question is Svetlana Lokhova. She and Flynn first met at
          conference in the United Kingdom. Intelligence officials in Flynn’s position are
          required to report incidental contact with someone from a hostile nation, due to
          the frequency with which foreign operatives try to use such ‘incidental’
          interactions as a way of obtaining information or recruiting people. Shortly
          afterward, Flynn began acting so erratically on the job at the Defense Intelligence
          Agency that he had to be fired. He then maintained his contact with Lokhova.
          Based on the extremely rare access which Vladimir Putin granted Svetlana
          Lokhova to GRU spy records, which have only been seen by two or three people
          in recent years, it’s become evident that she’s either a Russian government
          operative or a Russian spy or she has close connections with Russian spy. What’s
          not clear is whether Mike Flynn knew she was Russian operative when he invited
          her to accompany him on his next trip to Moscow, asking her to act as his
          translator.”

Finally, Palmer repeated that MSNBC “security analyst Malcom Nance” tweeted his

assessment that “Flynn poss caught in FSB honeypot w/female Russian Intel asset”.

[https://twitter.com/MalcolmNance/status/848108731896352768].

          126.    In addition to his website, www.palmerreports.com, Palmer operates a

Twitter     account,    @PalmerReport.       Palmer    has   248,000    Twitter    followers.



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[https://twitter.com/PalmerReport]. Palmer’s Articles about Lokhova were republished

millions of times via Twitter to millions.

       127.    As a result of Halper, Andrew, the Journal and Harding’s actions, other

“journalists” descended on Lokhova’s home. They began to show Lokhova’s picture

around, and question her neighbors.          The intense media scrutiny and increasing
                                                                            1:19-cv-632
aggressiveness of the press forced Lohkova (who had just had a baby) from her home and

into hiding, where she tried to fight back against the false and defamatory statement

published and republished by Halper, Andrew, the WSJ, the Guardian, the Daily Mail

and Daily Telegraph.

       6.      The NYT Article

       128.    On March 4, 2017, Times reporter, Mathew Rosenberg (“Rosenberg”),

emailed Lokhova as follows: “Hi – I cover intelligence and national security for The New

York Times. I’m eager to speak with you about Lt. Gen. Flynn, who I am told you met at

Cambridge in 2014.”

       129.    After North issued a statement to the Times reporter, Rosenberg

acknowledged that he had been given the wrong information about Lokhova and that he

had “found out” it was not Lokhova who had arranged General Flynn’s trip to Moscow in

December 2015, as Rosenberg had been told.

       130.    On May 12, 2017, the BBC published a detailed interview with Lokhova

in which Lokhova explained the truth about what happened at the Cambridge dinner in

February 2014 and her limited and infrequent interactions with General Flynn.

[https://www.bbc.com/news/magazine-39863781].




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       131.   Lokhova forwarded the BBC story to Rosenberg at the New York Times.

Rosenberg said that he believed Lokhova’s story and was going to publish an interview to

clear her name.

       132.   In addition to the BBC story, Lokhova gave Rosenberg an extensive

interview and provided detailed written answers to questions posed by Rosenberg.
                                                                            1:19-cv-632
Among the detailed written statements given Rosenberg are the following:




Lokhova further explained to Rosenberg that:




                                          42
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When asked whether she stayed in touch with Flynn after the February 2014 dinner,

Lokhova notified the Times that:




                                                                      1:19-cv-632




Lokhova explained to Rosenberg the outrage she felt when she first heard that

“journalists” were being told that Lokhova was a Russian spy:




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Lokhova highlighted for Rosenberg numerous inaccuracies in the WSJ Article:




                                                                          1:19-cv-632


Lokhova informed Rosenberg point blank that she had no connection to Russian

intelligence:




Lokhova explained to Rosenberg the “accurate story” behind her book:




         133.   After receiving Lokhova’s written statements, Rosenberg shelved the

story.




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       134.    The reason Rosenberg and the NYT shelved the story was they knew the

FBI planned to start a formal investigation into “Russian collusion”. The truth would

have been inconvenient for the FBI.

       135.    The FBI counterintelligence operation, of which Halper and the NYT were

important parts, succeeded in creating the false impression of “collusion” between
                                                                            1:19-cv-632
members of the Trump campaign and Russians. This false narrative established a basis

for investigating the invented “collusion”.

       136.    On May 9, 2017, President Trump fired FBI director, James Comey

(“Comey”).

       137.    Within days, the FBI opened an investigation into whether President

Trump was secretly working on behalf of Russia against American interests.

[https://www.nytimes.com/2019/01/11/us/politics/fbi-trump-russia-inquiry.html].

       138.    On May 17, 2017, Deputy Attorney General Rod Rosenstein appointed

Robert Mueller as Special Counsel to investigate the alleged collusion between the Trump

campaign and Russia.

       139.    On May 18, 2017, Halper fanned the flames he had created with his lies

about General Flynn and Lokhova, and made a revelatory admission on BBC radio.

Halper told the world all about the counterintelligence operation. Halper told the BBC

that there was a “sense” that the FBI’s inquiry into Russian collusion was moving in the

direction of Watergate. That was the FBI’s intention. Halper disclosed that “[i]t has

clearly gathered a fair amount of momentum. It is the topic of continued discussion and

analysis in Washington.” [https://twitter.com/BBCr4today/status/865542638316814339].

As part of the propaganda, Halper misrepresented that “people are deeply concerned

about the erratic nature of this White House”.      Halper claimed that there was “a


                                              45
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frustration that the country is lacking a coherent and focused leadership” and a “broad

sense that this president may not have the proper skills for this job.”

       140.    Halper revealed on international radio the true goal of the FBI

counterintelligence operation: to overthrow President Trump in a soft coup.

       141.     Throughout 2017, questions arose about the sources who allegedly
                                                                                  1:19-cv-632
supplied   “evidence”    of   “Russian    collusion”,    specifically     Christopher   Steele.

https://www.forbes.com/sites/paulroderickgregory/2017/01/13/the-trump-dossier-is-false-

news-and-heres-why/#7b1c6f1c6867;

https://www.nytimes.com/2017/10/25/us/politics/steele-dossier-trump-expained.html;

https://www.vanityfair.com/news/2017/10/hillary-clinton-donald-trump-dossier;

https://themoscowproject.org/collusion/steeles-dossier-shared-fbi/].

       142.    On January 29, 2018, the House Permanent Select Committee on

Intelligence (the “Committee”) voted to disclose a memorandum (“Memorandum”)

containing classified information relating to the Foreign Intelligence Surveillance Act

(“FISA”) abuses ant the Department of Justice (“DOJ”) and the FBI. The President

authorized declassification of the Committee Memorandum on February 2, 2018.

       143.    The Committee Memorandum raised serious concerns with legitimacy and

legality of certain DOJ and FBI interactions with the Foreign Intelligence Surveillance

Court (“FISC”).      Specifically, the Committee found that in connection with the

application for a FISA probable cause order authorizing electronic surveillance on Page,

DOJ and FBI made material misrepresentations and concealed material facts from the

FISC, including the following:




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       144.    Publication of the Committee Memorandum was the first concrete

revelation that the “Russian collusion” narrative was a counterintelligence hoax.

       145.    It was not long before Halper’s role in the counterintelligence operation

saw the light of day.

       146.    Recognizing that he would be exposed as a shady, deceptive FBI

informant, Halper approached his confederates at the Times. Halper contacted FBI go-to

man, Adam Goldman (“Goldman”). [https://www.nytimes.com/by/adam-goldman]. 11

Goldman was part of the propaganda team at the Times who “reported” on “Russia’s

meddling in the presidential election.” In truth, Goldman served as a medium, a vessel

through which Halper and the FBI leaked information to the public. Goldman is one of

many in the “mainstream media” who serve at the pleasure of the FBI and CIA.

Goldman was an integral part of the counterintelligence operation to defame Lokhova

and General Flynn and to destabilize the Trump administration.




       11
                 Goldman has 124,000 followers on Twitter. His Twitter profile,
@adamgoldmanNYT, reveals that he used to work with Ignatius at the Post.
[https://twitter.com/adamgoldmannyt?lang=en].


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       147.    Goldman and the Times acted in furtherance of the conspiracy by

laundering Halper’s lies through the storied New York Times newspaper, which gave

Halper’s lies an air of legitimacy.

       148.    On May 18, 2018, the Times published an article written by Goldman,

Rosenberg and Mark Mazzetti, entitled:
                                                                              1:19-cv-632




[https://www.nytimes.com/2018/05/18/us/politics/trump-fbi-informant-russia-

investigation.html (the “NYT Article”)].

       149.    The purpose of the NYT Article was to “get out front” of the news about

Halper’s role as an FBI spy, to distract readers and to promote the FBI narrative that

Halper was only used (paid) to “investigate” Russian ties to the Trump campaign, not to

spy on the campaign.

       150.    Although the Times did not mention Halper by name in the NYT Article,

Halper was the “Informant” identified in the headline and the “source” referenced

throughout the story.

       151.    The Times blindly republished the following false statements by Halper:




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       “The informant [Halper] also had contacts with Mr. Flynn, the retired Army
       general who was Mr. Trump’s first national security adviser. The two met in
       February 2014, when Mr. Flynn was running the Defense Intelligence Agency
       and attended the Cambridge Intelligence Seminar, an academic forum for former
       spies and researchers that meets a few times a year. According to people familiar
       with Mr. Flynn’s visit to the intelligence seminar, the source [Halper] was
       alarmed by the general’s apparent closeness with a Russian woman who was also
       in attendance. The concern was strong enough that it prompted another person12
       to pass on a warning to the American authorities that Mr. Flynn could be
       compromised by Russian intelligence, according to two people familiar 1:19-cv-632
                                                                                with the
       matter. Two years later, in late 2016, the seminar itself was embroiled in a
       scandal about Russian spying. A number of its organizers resigned over what
       they said was a Kremlin-backed attempt to take control of the group”.

       152.   In publishing the false statements in the NYT Article, the Times

completely disregarded Lokhova’s written statements given to Rosenberg a year earlier.

       153.   Indeed, the Times made no attempt to contact Lokhova prior to

publication on May 18, 2018.

       154.   The NYT Article falsely implied that Halper was at the dinner with

General Flynn in February 2014. He was not. The Article misrepresented that Halper

was “alarmed by the general’s apparent closeness” with Lokhova.        Halper was not

“alarmed” about anything.      No “closeness” was “apparent” to anyone at the dinner

because Lokhova was never “close” to General Flynn. There was no basis for any belief

that Lokhova had “compromised” General Flynn, let alone on behalf of Russian

intelligence, and no “warning” was passed to “American authorities”. This is all a

concerted lie concocted by Halper and Goldman/NYT.




       12
               Halper’s lies were openly obvious. Even Goldman should have seen the
truth. If Halper was so concerned (“alarmed”) in 2014 at a dinner he never attended,
why did it take him over two (2) years to resign from the Seminar because of the
“Kremlin-backed attempt to take over the group”? Further, if Halper had concerns
about the “closeness” of General Flynn and Lokhova, why did Halper not report the
matter himself? Why did “another person” pass on “a warning”?


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       155.    Between May 17, 2018 and the present, the NYT Article was republished

by CNN and other mainstream media outlets, and by the Times and many others to

millions via Twitter. See, e.g.:

      https://www.cnn.com/2018/05/18/politics/russia-informant-trump-
campaign/index.html;

       https://twitter.com/nytimes/status/997641945739644928                1:19-cv-632


       https://twitter.com/nytimes/status/997809604410118145;

       https://twitter.com/nytpolitics/status/997983002469785600;

       https://twitter.com/DRUDGE_REPORT/status/997892828092030976;

       https://twitter.com/NicolleDWallace/status/997807873517408256;

       https://twitter.com/tribelaw/status/997797418770075649;

       https://twitter.com/ThePlumLineGS/status/997791496727343104;

       https://twitter.com/HeidiNBC/status/998003388444020736;

       https://twitter.com/mayawiley/status/998263775470981120;

       https://twitter.com/ByronYork/status/997655685981724677;

       https://twitter.com/CGasparino/status/997811552014225414;
       (“as someone who has covered the FBI's use of informants, they do act like spies.
       sorry trump seems right on this one”);

       https://twitter.com/kylegriffin1/status/997654327266340865;
       (“The informant met Flynn in 2014 at a seminar. NYT reports the source was
       alarmed by Flynn’s apparent closeness with a Russian woman in attendance. The
       concern was strong enough that it prompted another person to warn authorities
       Flynn could be compromised”);

       https://twitter.com/Amy_Siskind/status/997653749194723328;
       (“Read until the end in Flynn in 2014: ‘the source was alarmed by the general’s
       apparent closeness with a Russian woman who was also in attendance’”);




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       https://twitter.com/ChuckRossDC/status/999674664304574464;
       (“So what's the source of this information about Flynn? And was the concern
       justified? According to NY Times, it was Stef Halper who first sounded the
       alarm on Flynn”);

       https://twitter.com/JuneCasagrande/status/997657500907331585
       (“Remember when Flynn got busted for lying about foreign contacts? One he
       concealed was Svetlana Lokhova, to whom Flynn was ‘General Misha.’ Today
       we learned an ally was so alarmed by his relationship w/her it was reported to US
       authorities in 2014”).                                                1:19-cv-632


Halper and the Times are liable for the republication of their false and defamatory

statements about Lokhova.

       7.      The Post Article

       156.    On June 5, 2018, the Post published a story written by Tom Hamburger

(“Hamburger”), Robert Costa (“Costa”) and Ellen Nakashima (“Nakashima”), entitled

“Cambridge University perch gave FBI source access to top intelligence figures —

and      a     cover     as      he     reached       out     to     Trump          associates”.

https://www.washingtonpost.com/politics/cambridge-university-pe%E2%80%A62-641e-

11e8-99d2-0d678ec08c2f_story.html?utm_term=.531c96c297a1 (the “Post Article”)].

       157.    The source of the Post Article was Halper.

       158.    Prior to publication, the Post reached out to Lokhova. Lokhova told the

Post that the story about her and General Flynn was false; that Halper was a known liar;

and that she had spoken a year earlier with Ignatius and that Ignatius, after flying to

Cambridge and interviewing sources in 2017, determined there was nothing to the story.

       159.    Prior to publication, Hamburger talked to Ignatius. Hamburger knew,

therefore, that the facts stated in the Post Article were false and unverifiable.

       160.    Prior to publication, Hamburger sent Lokhova a copy of her May 27, 2018

interview with the Times of London. Lokhova verified that her statements to the Times



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were accurate. [https://www.thetimes.co.uk/article/svetlana-lokhova-im-a-mum-under-

siege-not-mata-hari-bkggndttq].

       161.    The Post Article named Halper, and described him as a “a longtime source

of information for U.S. intelligence and law enforcement personnel”. The Post Article

reported the following as facts:
                                                                               1:19-cv-632




Hamburger completely ignored the facts stated in the May 27, 2018 interview given by

Lokhova to the Times of London.

       162.    Post Article contained the following falsehoods:

               ●       Halper was “attended” at the February 2014 dinner;

               ●       “Halper and Dearlove were disconcerted by the attention the then-
                       DIA chief showed to a Russian-born graduate student [Lokhova]
                       who regularly attended the seminars”.

       163.    The Post Article was republished millions of times via Twitter. See, e.g.:




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       https://twitter.com/costareports/status/1003968153448271872;
       (“My latest on the backstory of the Russia investigation w/ @thamburger
       @nakashimae”);

       https://twitter.com/washingtonpost/status/1003972080130543616.

       8.     MSNBC

       164.   At all times relevant to this action, NBCUniversal/MSNBC acted by and
                                                                          1:19-cv-632
though its authorized agents, including Malcom W. Nance (“Nance”). Nance is “the

chief terrorism analyst on MCNBC”. [https://www.youtube.com/channel/UCFWz-

RVDDuPdX-PImCjEaQQ/about?disable_polymer=1].           Nance maintains and operates an

official Twitter account on which he conducts the business of “NBC/MSNBC”. Nance

has 606,800 Twitter followers:




Nance is a regular contributor to the business of MSNBC, appearing in hundreds of

videos over many years.          [See, e.g., [https://www.youtube.com/channel/UCFWz-



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RVDDuPdX-PImCjEaQQ/featured?disable_polymer=1]. Nance has an extreme bias and

demonstrated prejudice against General Flynn and President Trump. [See, e.g.,

https://www.youtube.com/watch?v=EfIfl2tvvU8 (“within the intelligence community, the

thought was that he [General Flynn] may have been a turned agent to Russian

intelligence.”)]. Nance made and tweeted the false and defamatory statements about
                                                                            1:19-cv-632
Lokhova at issue in this action during normal business hours and while performing the

business of MSNBC. NBCUniversal is liable for Nance’s false and defamatory tweets

under the doctrine of respondeat superior.

       165.   On April 1, 2017, Nance called Lokhova a “honeypot”: 13




[https://twitter.com/MalcolmNance/status/848108731896352768].       Nance’s colleagues

joined in the republication of Nance’s defamatory statement about Lokhova. Joy Reid

republished Nance’s sexist and defamatory statement to her 1.4 Million followers on

Twitter. [https://twitter.com/JoyAnnReid/status/848497416752025600].

       166.   On May 6, 2017, MSNBC aired a program, entitled “Nance: Was Flynn

recruited by foreign powers?”, in which MSNBC specifically referred to Lokhova as a

“Russian intelligence officer”. Nance called General Flynn “dirty” in an intelligence




       13
                 A “honeypot” is a spy (typically attractive and female) who uses sex to
trap and blackmail a target. [https://en.wiktionary.org/wiki/honeypot; see
https://twitter.com/MalcolmNance/status/1070299994039742464 (“Fun Fact: The
Intelligence community informally describes cheap honey pot temptresses who collect
thru sex employed by GRU/KGB (FSB) as ‘Svetlanas’. ‘Natasha’s’ were trained smart
agents who used brains.”)].


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sense.      [https://www.msnbc.com/am-joy/watch/nance-was-flynn-recruited-by-foreign-

powers-937950787864].

         167.   In May 2018, after Halper was exposed as an FBI spy, NBCUniversal

contacted Lokhova. NBCUniversal’s producer, Anna Schecter (“Schecter”), represented

that NBCUniversal wanted to do a program on Halper. Schecter represented that the
                                                                                 1:19-cv-632
program would help clear Lokhova’s name, and would hold “a powerful (if repugnant)

man to account” and would hold America’s “top law enforcement agency to account”.

“We will set the record straight, and right a wrong. It will be all the more powerful if

NBC does it … because it’s the most watched network”. Schecter stated that she was

“passionate about righting this wrong and telling your story, which exposes Halper’s true

character, and calls out the FBI for relying on a slanderer who cares much more about

telling a juicy yarn than the truth. This is a breach of justice full stop”. Schechter further

stated that “[a]s a woman, and a professional woman, I shudder at the notion of a

fallacious story about sleeping with Flynn and spying no less not just told around

Cambridge but given to the press and reported as fact. I and my team in the investigative

unit will take this story and it’s important implications very seriously and I believe our

agencies (FBI and CIA) will be better for the fact that we shine a bright light on an

unreliable and loose-lipped informant prone to inventing stories”.           In reliance on

NBCUniversal’s representations, Lokhova decided to do an interview.               In light of

Goldman/NYT’s and the Post’s suppression of the facts, Lokhova was skeptical, but she

wanted the truth to told to the largest audience possible. NBCUniversal promised to

make that happen. [https://twitter.com/RealSLokhova/status/1120500428381274112].




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       168.    NBCUniversal     concealed    its   ulterior   motive   from     Lokhova.

NBCUniversal was not interested in publishing the truth or holding anyone accountable.

Rather, NBCUniversal was determined to defame and discredit General Flynn and

Lokhova, and to blindly promote the “Russian collusion” narrative. The phone calls from

Schecter after May 2018 went from fact-checking to interrogation-type questions to
                                                                              1:19-cv-632
twisting. Then, Lokhova noticed that she was being followed on Twitter by Ken Dilanian

(Dilanian”) 14 and the producer of the Rachel Maddow Show, Mathew Alexander. Then,

Schecter called and concealed the fact that others were on the line. During one call, it

struck Lokhova that there were more than just her and Schecter on the line. Lokhova

asked Schecter directly if Dilanian was listening to the call and feeding her questions?

Schechter abruptly ended the call.    Schecter then called Lokhova from her mobile.

Schecter sounded distressed, and said she was being pressured by her colleagues.

Schecter said she believed Lokhova, but said a colleague at NBCUniversal with “25 years

intelligence experience” was laughing and saying that “everyone at the CIA knows Flynn

had an affair with Lokhova”.

       169.    In July 2018, Nance stated that he believed that Lokhova was a “sexy”

woman agent:




       14
             Dilanian is a known to have a “closely collaborative relationship with the
CIA”. [https://www.latimes.com/nation/nationnow/la-na-nn-tribune-dilanian-20140904-
story.html].


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                                                                        1:19-cv-632



[https://twitter.com/MalcolmNance/status/1018954261391118338].

      170.   On July 19, 2018, Nance again stated that Lokhova was a “Honeypot”:




                                        58
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[https://twitter.com/MalcolmNance/status/1019640292004200450].

       171.   Halper knows what a real “honeypot” looks like.           He employed a

honeypot named Azra Turk (“Turk”) in an attempt to entrap Trump aide Papadopoulos.

[https://twitter.com/costareports/status/1124009254594187264;

https://dailycaller.com/2019/05/02/stefan-halper-spygate-
                                                                              1:19-cv-632
papadopoulos/?utm_source=Twitter&utm_campaign=atdailycaller&utm_medium=Social

].

       172.   At all times relevant to this action, Halper knew that Lokhova was not a

honeypot.

                             COUNT I – DEFAMATION

       173.   Plaintiff restates paragraphs 1 through 172 of this Complaint, and

incorporates them herein by reference.

       174.   The law of defamation protects a basic constitutional interest:         the

individual’s right to personal security and the uninterrupted entitlement to enjoyment of

his reputation. Gazette, Inc. v. Harris, 229 Va. 1, 7, 325 S.E.2d 713 (1985) (citation

omitted). In Rosenblatt v. Baer, Mr. Justice Stewart emphasized that:

       “‘Society has a pervasive and strong interest in preventing and redressing attacks
       upon reputation.’ The right of a man to the protection of his own reputation from
       unjustified invasion and wrongful hurt reflects no more than our basic concept of
       the essential dignity and worth of every human being—a concept at the root of
       any decent system of ordered liberty … The destruction that defamatory
       falsehood can bring is, to be sure, often beyond the capacity of the law to redeem.
       Yet, imperfect though it is, an action for damages is the only hope for vindication
       or redress the law gives to a man whose reputation has been falsely dishonored …
       Surely if the 1950’s taught us anything, they taught us that the poisonous
       atmosphere of the easy lie can infect and degrade a whole society.”

383 U.S. 75, 92-93 (1966); id. Milkovich v. Lorain Journal Co., 497 U.S. 1, 12 (1990)

(“Good name in man and woman, dear my lord, Is the immediate jewel of their souls. Who



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steals my purse steals trash; ‘Tis something, nothing; ‘Twas mine, `tis his, and has been slave

to thousands; But he that filches from me my good name Robs me of that which not enriches

him, And makes me poor indeed.”) (quoting WILLIAM SHAKESPEARE, OTHELLO, act 3

sc. 3)). 15

         175.     Halper and the media Defendants each used the Internet, print media,
                                                                                  1:19-cv-632
Twitter and Facebook to make, publish and republish numerous false factual statements

of and concerning Lokhova.          These statements are detailed verbatim above.         The

Defendants published the false statements without privilege of any kind.

         176.     At all times relevant to this action, Andrew, the Journal, the Guardian, the

Times and the Post acted as co-conspirators and agents of Halper. While the conspiracy

between Halper, Andrew and the media Defendants continued, the media Defendants

made, published and republished numerous false factual statements of and concerning

Lokhova.        These statements are detailed verbatim above.        The media Defendants

published the false statements without privilege of any kind. Halper is liable for Andrew

and the media Defendants’ false and defamatory statements as a matter of law.

         177.     The false statements constitute defamation per se. The statements accuse

and impute to Lokhova the commission of crimes involving moral turpitude and for

which Lokhova may be punished and imprisoned in a state or federal institution. The

statements impute to Lokhova an unfitness to perform the duties of an office or

employment for profit, or the want of integrity in the discharge of the duties of such



         15
               Libelous speech is not protected by the First Amendment. Bose Corp. v.
Consumers Union of the United States, Inc., 466 U.S. 485, 504 (1984) (cited in Pendleton
v. Newsome, 290 Va. 162, 173, 772 S.E.2d 759 (2015)); id. United States v. Alvarez, 132
S. Ct. 2537, 2560 (2012) (“false factual statements possess no First Amendment value.”).


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office or employment. Finally, the Defendants’ false statements also prejudice Lokhova

in her profession and employment as a historian, academic and author.

       178.    By publishing the Andrew Article, the WSJ Article, the Guardian Article,

the NYT Article, the Post Article and the MSNBC statements and tweets in print, on the

Internet, and by tweeting these statements to the Twitter universe, the Defendants knew
                                                                             1:19-cv-632
or should have known that their defamatory statements would be republished over and

over by third-parties to Lokhova’s detriment.           Republication by both identified

subscribers and Twitter users and by anonymous persons was the natural and probable

consequence of the Defendants’ actions and was actually and/or presumptively

authorized the Defendants. In addition to the original publications of the Articles, the

Defendants are liable for the republications of the false and defamatory statements by

third-parties under the doctrine (the “republication rule”) announced by the Supreme

Court of Virginia in Weaver v. Home Beneficial Co., 199 Va. 196, 200, 98 S.E.2d 687

(1957) (“where the words declared on are slanderous per se their repetition by others is

the natural and probable result of the original slander.”).

       179.    The Defendants’ false statements have harmed Lokhova and her

reputation.

       180.    The Defendants made the false statements with actual or constructive

knowledge that they were false or with reckless disregard for whether they were false.

The Defendants acted with actual malice and reckless disregard for the truth for the

following reasons:

               a.      The Defendants conceived a story line in advance of any

investigation and then consciously set out to make the evidence conform to the




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preconceived story. The Defendants pursued and regurgitated preconceived narratives

about Lokhova and General Flynn that they knew to be false, and intentionally employed

a scheme or artifice to defame Lokhova. Defendants acted intentionally, purposefully

and in concert to accomplish an unlawful purpose through unlawful means, without

regard for the Lokhova’s rights and interests.
                                                                             1:19-cv-632
               b.      The Defendants knew their statements were false, and possessed

information that demonstrated the falsity of their statements. Defendants’ fraudulent,

deceitful, deceptive, unethical and untruthful actions and omissions, which occurred over

a lengthy period of time, show their actual malice towards Lokhova.

               c.      The media Defendants abandoned all journalistic standards in

writing, editing and publishing the Articles at issue.          Indeed, they acted as

counterintelligence operatives rather than as journalists.

               d.      The Defendants relied on sources that they knew to be wholly

debunked and unreliable.

               e.      The Defendants were in possession of information that

demonstrated that their statements about Lokhova were false.

               f.      The Defendants exhibited an extreme, institutional hatred for

Lokhova, General Flynn and President Trump.

               g.      The media Defendants exhibited extreme bias in their reporting,

editing and publishing concerning Lokhova.

               h.      The Defendants chose to manufacture and publish false and

scandalous statements and use insulting words that were unnecessarily strong and that

constitute violent, abusive, hateful, sensational language, disproportionate to the




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occasion. The words chosen by the Defendants evince their ill-will, spite and actual

malice.

                  i.    The Defendants did not act in good faith because, in the total

absence of evidence, they could not have had an honest belief in the truth of their

statements about Lokhova.
                                                                                1:19-cv-632
                  j.    The Defendants reiterated, repeated and continued to republish the

false defamatory statements about Lokhova out of a desire to hurt her and to permanently

stigmatize her.

                  k.    The Defendants initiated the defamation in retaliation and reprisal,

and went out of their way to publish and then republish false statements about Lokhova

that the Defendants knew were untrue.

                  l.    Via email and Twitter, Lokhova demanded a retraction of the

defamatory statements. The Defendants refused to correct, retract or apologize.

          181.    As a direct result of the Defendants’ defamation, Lokhova suffered

presumed damages and actual damages, including, but not limited to, insult, pain,

embarrassment, humiliation, mental suffering, injury to her reputation, loss of income

and business, special damages, costs, and other out-of-pocket expenses, in the sum of

$25,000,000 or such greater amount as is determined by the Jury.

                       COUNT II – COMMON LAW CONSPIRACY

          182.    Plaintiff restates paragraphs 1 through 181 of this Complaint, and

incorporates them herein by reference.

          183.    Beginning in 2016 and continuing through May 2018, Halper combined,

associated, agreed or acted in concert together and with one or more agents of the FBI,




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the Journal, the Guardian, the Times, the Post, and other operatives or agents (whose

identity is unknown at this time) for the express purposes of injuring Lokhova,

intentionally and unlawfully impeding and interfering with her business and employment,

and defaming Lokhova. In furtherance of the conspiracy and preconceived plan, the

Defendants engaged in a joint scheme the unlawful purpose of which was to destroy
                                                                               1:19-cv-632
Lokhova’s personal and professional reputations, advance the goals of the

counterintelligence operation and, ultimately, to overthrow President Trump.

       184.    The Defendants acted intentionally, purposefully, without lawful

justification, and with the express knowledge that they were defaming Lokhova. As

evidenced by their concerted action online, in print and via Twitter, the Defendants acted

with the express and malicious intent to cause Lokhova permanent injury.

       185.    The Defendants’ actions constitute a conspiracy at common law.

       186.    As a direct result of the Defendants’ willful misconduct, Lokhova suffered

actual damages, including, but not limited to, insult, pain, embarrassment, humiliation,

mental suffering, injury to her reputation, loss of income and business, special damages,

costs, and other out-of-pocket expenses, in the sum of $25,000,000 or such greater

amount as is determined by the Jury.

                    COUNT III – TORTIOUS INTERFERENCE

       187.    Plaintiff restates paragraphs 1 through 186 of this Complaint and

incorporates them herein by reference.

       188.    Lokhova had valid and reasonable contracts and business expectancies in

her book deals and employment as a historian, academic and author.




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       189.    By reason of their discussions and interactions with Lokhova and amongst

themselves and/or with Andrew, the Defendants each had knowledge of Lokhova’s

contracts and business expectancies.

       190.    The Defendants intentionally interfered with Lokhova’s property rights

and business expectancies by, inter alia, devising, aiding, abetting and actively
                                                                               1:19-cv-632
participating in the scheme to defame and injure Lokhova by intentionally lying in the

Articles at issue, by fabricating evidence and claims about Lokhova and General Flynn,

and by encouraging others to republish the false and defamatory statements.            The

Defendants’ improper methods, actions and practices were, inter alia, defamatory,

unethical, oppressive, over-reaching, fraudulent, hostile, and sharp.

       191.    As a direct result of the Defendants’ tortious interference with Lokhova’s

contracts and valid business expectations, Lokhova suffered damage and incurred loss,

including, without limitation, loss of income and business, damage to reputation, prestige

and standing, court costs, and other damages in the amount of $25,000,000 or such

greater amount as is determined by the Jury.



       Lokhova alleges the foregoing based upon personal knowledge, public statements

of others, and records in her possession. Lokhova believes that substantial additional

evidentiary support, which is in the exclusive possession of the Defendants, the FBI,

Cambridge University, and their agents and other third-parties, will exist for the

allegations and claims set forth above after a reasonable opportunity for discovery.

       Lokhova reserves her right to amend this Complaint upon discovery of additional

instances of Defendants’ wrongdoing.




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                   CONCLUSION AND REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, Svetlana Lokhova, respectfully requests the Court to

enter Judgment against the Defendants, jointly and severally, as follows:

       A.      Compensatory damages in the amount of $25,000,000 or such greater

amount as is determined by the Jury;
                                                                                1:19-cv-632
       B.      Punitive damages in the amount of $350,000 or the maximum amount

allowed by law;

       C.      Prejudgment interest from February 19, 2017 until the date Judgment is

entered at the maximum rate allowed by law;

       D.      Postjudgment interest at the rate of six percent (6%) per annum until paid;

       E.      Attorney’s Fees and Costs;

       F.      Such other relief as is just and proper.


                          TRIAL BY JURY IS DEMANDED


DATED:         May 23, 2019



                              SVETLANA LOKHOVA



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